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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 NeighborFavor Inc.,

                       Plaintiff,
             v.                                     Case No. 1:22-cv-00618-LY

 Hey Favor, Inc.

                       Defendant.




             HEY FAVOR, INC.’S NOTICE OF COMPLIANCE PURSUANT TO
                     THE COURT’S JANUARY 12, 2023 ORDER

       Defendant Hey Favor, Inc. hereby submits this notice confirming its compliance with the

Court’s January 6, 2023 order (ECF 41) as modified by the Court’s January 12, 2023 order (ECF

No. 43). Hey Favor has “cease[d] all use of the FAVOR mark, and any other confusingly similar

marks, on or before January 27, 2023.” (ECF Nos. 41, 43.)




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Dated: February 17, 2023                  Respectfully submitted,

                                          By: /s/ Joyce Liou
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2023, the foregoing was filed electronically in

compliance with Local Rule CV-5(b)(1) and served via the Court’s electronic filing system on all

counsel who have consented to electronic service.



Dated: February 17, 2023                         By:     /s/ Joyce Liou
                                                       Joyce Liou




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